(For digest see Bank v. Turner, ante, 162.)
This action was heard by the judge of the Superior Court of Forsyth County on the appeal of the defendant, Bernice E. Turner, from the judgment of the judge of the Forsyth County Court, affirming the order of the clerk of said court, denying the motion of the defendant that the judgment by default final rendered against the defendant in this action be set aside and vacated, on the ground that her neglect to file an answer to the complaint within the time prescribed by statute was excusable. C. S., 600.
The clerk of the Forsyth County Court found from all the evidence that the defendant, Bernice E. Turner, has a meritorious defense to the action. This finding was approved by the judge of the Forsyth County Court and also by the judge of the Superior Court of Forsyth County. Defendant's assignments of error based on her exceptions to the conclusion of law by the clerk which was approved by the judge of the Forsyth County Court, that the neglect of defendant to file an answer to the complaint was not excusable, were sustained by the judge of the Superior Court of Forsyth County.
From judgment reversing the judgment of the judge of the Forsyth County Court, and remanding the action to said court, with direction that the judgment by default final be set aside and vacated, and that defendant be allowed to file an answer to the complaint, in said court plaintiff appealed to the Supreme Court.
The question of law presented by this appeal is identical with that presented by the appeal in Bank v. Turner, ante, 162. In accordance with the decision in that case, the judgment herein is
Affirmed. *Page 167 